        Case 3:19-cv-01364-VLB Document 16 Filed 10/22/19 Page 1 of 22



                          UNITED STATES DISTRICT COURT
                            DISTRICT OF CONNECTICUT


MICHAEL KORS, L.L.C.,                          :
                                               :
             Plaintiff,                        :
      v.                                       :      Civil No. 3:19-cv-01364 (VLB)
C.G.C. ENTERPRISES, INC.;                      :
CHARLES CHESLOCK;                              :
DIGSBY, TAYLOR & HOBBES, LLC;                  :
RICHARD LEBOV; and                             :
“JOHN DOES” 1-100,                             :
             Defendants.                       :      October 22, 2019


  DEFENDANTS DIGSBY, TAYLOR & HOBBES, LLC’S AND RICHARD LEBOV’S
  ANSWER AND AFFIRMATIVE DEFENSES TO COMPLAINT AND CROSSCLAIM
                   AGAINST DEFENDANT CHARLES CHESLOCK

      DEFENDANTS, DIGSBY, TAYLOR & HOBBES, LLC and RICHARD LEBOV

(Defendants), through their counsel, Michael S. Hillis, respectfully file this answer

and affirmative defenses to PLAINTIFF MICHAEL KORS, LLC’S (Plaintiff)

complaint in accordance with Rule 12(a) of the Federal Rules of Civil Procedure.



                                      ANSWERS

      As to the Plaintiff’s allegations contained in the following paragraphs of the

complaint, Defendants answers as follows:

   1. Defendants do not possess enough information to either admit or deny the

      Plaintiff’s allegation and leave the Plaintiff to its proof.


                                           1
    Case 3:19-cv-01364-VLB Document 16 Filed 10/22/19 Page 2 of 22



2. Denied.

3. Denied.

4. Denied.

5. Denied.

6. Denied.

7. Denied.

8. Defendants do not possess enough information to either admit or deny the

   Plaintiff’s allegation and leave the Plaintiff to its proof.

9. Defendants do not possess enough information to either admit or deny the

   Plaintiff’s allegation and leave the Plaintiff to its proof.

10. Denied.

11. Defendants do not possess enough information to either admit or deny the

   Plaintiff’s allegation and leave the Plaintiff to its proof.

12. Admitted.

13. Admitted.

14. Admitted.

15. Admitted.

16. Defendants do not possess enough information to either admit or deny the

   Plaintiff’s allegation and leave the Plaintiff to its proof.

17. Defendants do not possess enough information to either admit or deny the

   Plaintiff’s allegation and leave the Plaintiff to its proof.

18. Admitted.




                                        2
    Case 3:19-cv-01364-VLB Document 16 Filed 10/22/19 Page 3 of 22



19. Defendant’s deny that they committed the acts complained of within the

   district and admit that they do business in the district and that they reside

   in the district.

20. Admitted.

21. Admitted.

22. Defendants do not possess enough information to either admit or deny the

   Plaintiff’s allegation and leave the Plaintiff to its proof.

23. Defendants do not possess enough information to either admit or deny the

   Plaintiff’s allegation and leave the Plaintiff to its proof.

24. Defendants do not possess enough information to either admit or deny the

   Plaintiff’s allegation and leave the Plaintiff to its proof.

25. Defendants do not possess enough information to either admit or deny the

   Plaintiff’s allegation and leave the Plaintiff to its proof.

26. Defendants do not possess enough information to either admit or deny the

   Plaintiff’s allegation and leave the Plaintiff to its proof.

27. Defendants do not possess enough information to either admit or deny the

   Plaintiff’s allegation and leave the Plaintiff to its proof.

28. Defendants do not possess enough information to either admit or deny the

   Plaintiff’s allegation and leave the Plaintiff to its proof.

29. Defendants do not possess enough information to either admit or deny the

   Plaintiff’s allegation and leave the Plaintiff to its proof.

30. Defendants do not possess enough information to either admit or deny the

   Plaintiff’s allegation and leave the Plaintiff to its proof.



                                        3
    Case 3:19-cv-01364-VLB Document 16 Filed 10/22/19 Page 4 of 22



31. Defendants do not possess enough information to either admit or deny the

   Plaintiff’s allegation and leave the Plaintiff to its proof.

32. Defendants do not possess enough information to either admit or deny the

   Plaintiff’s allegation and leave the Plaintiff to its proof.

33. Defendants do not possess enough information to either admit or deny the

   Plaintiff’s allegation and leave the Plaintiff to its proof.

34. Defendants do not possess enough information to either admit or deny the

   Plaintiff’s allegation and leave the Plaintiff to its proof.

35. Defendants do not possess enough information to either admit or deny the

   Plaintiff’s allegation and leave the Plaintiff to its proof.

36. Defendants do not possess enough information to either admit or deny the

   Plaintiff’s allegation and leave the Plaintiff to its proof.

37. Defendants do not possess enough information to either admit or deny the

   Plaintiff’s allegation and leave the Plaintiff to its proof.

38. Denied.

39. Denied.

40. Denied.

41. Denied.

42. Denied.

43. Denied.

44. Defendants do not possess enough information to either admit or deny the

   Plaintiff’s allegation and leave the Plaintiff to its proof.




                                        4
    Case 3:19-cv-01364-VLB Document 16 Filed 10/22/19 Page 5 of 22



45. Defendants do not possess enough information to either admit or deny the

   Plaintiff’s allegation and leave the Plaintiff to its proof.

46. Defendants do not possess enough information to either admit or deny the

   Plaintiff’s allegation and leave the Plaintiff to its proof.

47. Defendants do not possess enough information to either admit or deny the

   Plaintiff’s allegation and leave the Plaintiff to its proof.

48. Defendants do not possess enough information to either admit or deny the

   Plaintiff’s allegation and leave the Plaintiff to its proof.

49. Defendants do not possess enough information to either admit or deny the

   Plaintiff’s allegation and leave the Plaintiff to its proof.

50. Defendants do not possess enough information to either admit or deny the

   Plaintiff’s allegation and leave the Plaintiff to its proof.

51. Defendants do not possess enough information to either admit or deny the

   Plaintiff’s allegation and leave the Plaintiff to its proof.

52. Defendants do not possess enough information to either admit or deny the

   Plaintiff’s allegation and leave the Plaintiff to its proof.

53. Defendants do not possess enough information to either admit or deny the

   Plaintiff’s allegation and leave the Plaintiff to its proof.

54. Defendants do not possess enough information to either admit or deny the

   Plaintiff’s allegation and leave the Plaintiff to its proof.

55. Denied.

56. Defendants do not possess enough information to either admit or deny the

   Plaintiff’s allegation and leave the Plaintiff to its proof.



                                        5
    Case 3:19-cv-01364-VLB Document 16 Filed 10/22/19 Page 6 of 22



57. Defendants do not possess enough information to either admit or deny the

   Plaintiff’s allegation and leave the Plaintiff to its proof.

58. Defendants do not possess enough information to either admit or deny the

   Plaintiff’s allegation and leave the Plaintiff to its proof.

59. Defendants do not possess enough information to either admit or deny the

   Plaintiff’s allegation and leave the Plaintiff to its proof.

60. Defendants do not possess enough information to either admit or deny the

   Plaintiff’s allegation and leave the Plaintiff to its proof.

61. Defendants do not possess enough information to either admit or deny the

   Plaintiff’s allegation and leave the Plaintiff to its proof.

62. Defendants do not possess enough information to either admit or deny the

   Plaintiff’s allegation and leave the Plaintiff to its proof.

63. Defendants do not possess enough information to either admit or deny the

   Plaintiff’s allegation and leave the Plaintiff to its proof.

64. Defendants do not possess enough information to either admit or deny the

   Plaintiff’s allegation and leave the Plaintiff to its proof.

65. Defendants do not possess enough information to either admit or deny the

   Plaintiff’s allegation and leave the Plaintiff to its proof.

66. Admitted.

67. Defendants do not possess enough information to either admit or deny the

   Plaintiff’s allegation and leave the Plaintiff to its proof.

68. Defendants do not possess enough information to either admit or deny the

   Plaintiff’s allegation and leave the Plaintiff to its proof.



                                        6
    Case 3:19-cv-01364-VLB Document 16 Filed 10/22/19 Page 7 of 22



69. Defendants do not possess enough information to either admit or deny the

   Plaintiff’s allegation and leave the Plaintiff to its proof.

70. Admitted as to the written response from Attorney Resnick; denied as to

   the remaining allegations.

71. Defendants do not possess enough information to either admit or deny the

   Plaintiff’s allegation and leave the Plaintiff to its proof.

72. Defendants do not possess enough information to either admit or deny the

   Plaintiff’s allegation and leave the Plaintiff to its proof.

73. Defendants do not possess enough information to either admit or deny the

   Plaintiff’s allegation and leave the Plaintiff to its proof.

74. Defendants do not possess enough information to either admit or deny the

   Plaintiff’s allegation and leave the Plaintiff to its proof.

75. Defendants do not possess enough information to either admit or deny the

   Plaintiff’s allegation and leave the Plaintiff to its proof.

76. Defendants do not possess enough information to either admit or deny the

   Plaintiff’s allegation and leave the Plaintiff to its proof.

77. Defendants do not possess enough information to either admit or deny the

   Plaintiff’s allegation and leave the Plaintiff to its proof.

78. Defendants do not possess enough information to either admit or deny the

   Plaintiff’s allegation and leave the Plaintiff to its proof.

79. Denied.

80. Denied.

81. Denied.



                                        7
    Case 3:19-cv-01364-VLB Document 16 Filed 10/22/19 Page 8 of 22



82. Defendants do not possess enough information to either admit or deny the

   Plaintiff’s allegation and leave the Plaintiff to its proof.

83. Defendants do not possess enough information to either admit or deny the

   Plaintiff’s allegation and leave the Plaintiff to its proof.

84. Defendants do not possess enough information to either admit or deny the

   Plaintiff’s allegation and leave the Plaintiff to its proof.

85. Defendants do not possess enough information to either admit or deny the

   Plaintiff’s allegation and leave the Plaintiff to its proof.

86. Defendants do not possess enough information to either admit or deny the

   Plaintiff’s allegation and leave the Plaintiff to its proof.

87. Defendants do not possess enough information to either admit or deny the

   Plaintiff’s allegation and leave the Plaintiff to its proof.

88. Defendants do not possess enough information to either admit or deny the

   Plaintiff’s allegation and leave the Plaintiff to its proof.

89. Denied.

90. Denied.

91. Denied.

92. This paragraph is not directed to Defendants Digsby, Taylor & Hobbes, LLC

   or Richard Lebov.

93. This paragraph is not directed to Defendants Digsby, Taylor & Hobbes, LLC

   or Richard Lebov.

94. This paragraph is not directed to Defendants Digsby, Taylor & Hobbes, LLC

   or Richard Lebov.



                                        8
       Case 3:19-cv-01364-VLB Document 16 Filed 10/22/19 Page 9 of 22



95. This paragraph is not directed to Defendants Digsby, Taylor & Hobbes, LLC

   or Richard Lebov.

96. This paragraph is not directed to Defendants Digsby, Taylor & Hobbes, LLC

   or Richard Lebov.

97. This paragraph is not directed to Defendants Digsby, Taylor & Hobbes, LLC

   or Richard Lebov.

98. This paragraph is not directed to Defendants Digsby, Taylor & Hobbes, LLC

   or Richard Lebov.

99. This paragraph is not directed to Defendants Digsby, Taylor & Hobbes, LLC

   or Richard Lebov.

100.       This paragraph is not directed to Defendants Digsby, Taylor &

   Hobbes, LLC or Richard Lebov.

101.       This paragraph is not directed to Defendants Digsby, Taylor &

   Hobbes, LLC or Richard Lebov.

102.       This paragraph is not directed to Defendants Digsby, Taylor &

   Hobbes, LLC or Richard Lebov.

103.       This paragraph is not directed to Defendants Digsby, Taylor &

   Hobbes, LLC or Richard Lebov.

104.       This paragraph is not directed to Defendants Digsby, Taylor &

   Hobbes, LLC or Richard Lebov.

105.       This paragraph is not directed to Defendants Digsby, Taylor &

   Hobbes, LLC or Richard Lebov.




                                      9
   Case 3:19-cv-01364-VLB Document 16 Filed 10/22/19 Page 10 of 22



106.    This paragraph is not directed to Defendants Digsby, Taylor &

   Hobbes, LLC or Richard Lebov.

107.    This paragraph is not directed to Defendants Digsby, Taylor &

   Hobbes, LLC or Richard Lebov.

108.    This paragraph is not directed to Defendants Digsby, Taylor &

   Hobbes, LLC or Richard Lebov.

109.    This paragraph is not directed to Defendants Digsby, Taylor &

   Hobbes, LLC or Richard Lebov.

110.    This paragraph is not directed to Defendants Digsby, Taylor &

   Hobbes, LLC or Richard Lebov.

111.    This paragraph is not directed to Defendants Digsby, Taylor &

   Hobbes, LLC or Richard Lebov.

112.    This paragraph is not directed to Defendants Digsby, Taylor &

   Hobbes, LLC or Richard Lebov.

113.    This paragraph is not directed to Defendants Digsby, Taylor &

   Hobbes, LLC or Richard Lebov.

114.    This paragraph is not directed to Defendants Digsby, Taylor &

   Hobbes, LLC or Richard Lebov.

115.    This paragraph is not directed to Defendants Digsby, Taylor &

   Hobbes, LLC or Richard Lebov.

116.    This paragraph is not directed to Defendants Digsby, Taylor &

   Hobbes, LLC or Richard Lebov.




                                   10
   Case 3:19-cv-01364-VLB Document 16 Filed 10/22/19 Page 11 of 22



117.     This paragraph is not directed to Defendants Digsby, Taylor &

   Hobbes, LLC or Richard Lebov.

118.     This paragraph is not directed to Defendants Digsby, Taylor &

   Hobbes, LLC or Richard Lebov.

119.     This paragraph is not directed to Defendants Digsby, Taylor &

   Hobbes, LLC or Richard Lebov.

120.     This paragraph is not directed to Defendants Digsby, Taylor &

   Hobbes, LLC or Richard Lebov.

121.     This paragraph is not directed to Defendants Digsby, Taylor &

   Hobbes, LLC or Richard Lebov.

122.     This paragraph is not directed to Defendants Digsby, Taylor &

   Hobbes, LLC or Richard Lebov.

123.     This paragraph is not directed to Defendants Digsby, Taylor &

   Hobbes, LLC or Richard Lebov.

124.     This paragraph is not directed to Defendants Digsby, Taylor &

   Hobbes, LLC or Richard Lebov.

125.     This paragraph is not directed to Defendants Digsby, Taylor &

   Hobbes, LLC or Richard Lebov.

126.     This paragraph is not directed to Defendants Digsby, Taylor &

   Hobbes, LLC or Richard Lebov.

127.     Defendants repeat their answers to Plaintiff’s allegations contained

   in paragraphs 1 through 90 of the complaint.




                                    11
   Case 3:19-cv-01364-VLB Document 16 Filed 10/22/19 Page 12 of 22



128.     Defendants do not possess enough information to either admit or

   deny the Plaintiff’s allegation and leave the Plaintiff to its proof.

129.     Denied.

130.     Denied.

131.     Admitted.

132.     Denied.

133.     Denied

134.     Denied.

135.     Denied.

136.     Defendants repeat their answers to Plaintiff’s allegations contained

   in paragraphs 1 through 90 of the complaint.

137.     Denied.

138.     Denied.

139.     Denied.

140.     Denied.

141.     Denied.

142.     Defendants do not possess enough information to either admit or

   deny the Plaintiff’s allegation and leave the Plaintiff to its proof.




                                       12
     Case 3:19-cv-01364-VLB Document 16 Filed 10/22/19 Page 13 of 22



           DEFENDANTS’ SPECIAL AND AFFIRMATIVE DEFENSES

                        FIRST AFFIRMATIVE DEFENSE

         (Failure to State a Claim upon Which Relief May be Granted)

1. As a first, separate, and affirmative defense to each and every cause of

     action alleged in the complaint, Defendants allege that Plaintiff has failed to

     allege facts sufficient to state a claim upon which relief may be granted

     against Defendants under the applicable laws.

                       SECOND AFFIRMATIVE DEFENSE

                             (Statue of Limitations)

2.   As a second, separate, and affirmative defense to each and every cause of

     action alleged in the complaint, Defendants allege that each such cause of

     action is barred by the applicable statutes of limitations.

                        THIRD AFFIRMATIVE DEFENSE

                                   (Estoppel)

3.   As a third, separate, and affirmative defense to each and every cause of

     action alleged in the complaint, Defendants allege that Plaintiff is barred

     from bringing such cause of action by the doctrine of estoppel.

                       FOURTH AFFIRMATIVE DEFENSE

                                    (Waiver)

4. As a fourth, separate, and affirmative defense to each and every cause of

     action alleged in the complaint, Defendants allege that Plaintiff is barred

     from bringing such cause of action by the doctrine of waiver.




                                        13
    Case 3:19-cv-01364-VLB Document 16 Filed 10/22/19 Page 14 of 22



                       FIFTH AFFIRMATIVE DEFENSE

                                     (Laches)

5. As a fifth, separate, and affirmative defense to each and every cause of

   action alleged in the complaint, Defendants allege that Plaintiff is barred

   from bringing such cause of action by the doctrine of laches.

                       SIXTH AFFIRMATIVE DEFENSE

                               (Unclean Hands)

6. As a sixth, separate, and affirmative defense to each and every cause of

   action alleged in the complaint, Defendants allege that Plaintiff is barred

   from bringing such cause of action by the doctrine of unclean hands.

                     SEVENTH AFFIRMATIVE DEFENSE

                        (Failure to Mitigate Damages)

7. As a seventh, separate, and affirmative defense to each and every cause of

   action alleged in the complaint, Defendants allege that Plaintiff has failed to

   mitigate their damages, if any.

                      EIGHTH AFFIRMATIVE DEFENSE

                (Lack of Proximate Cause/Proportional Fault)

8. As an eighth, separate, and affirmative defense to each and every cause of

   action alleged in the complaint, Defendants allege that Plaintiff’s own acts

   and omissions proximately caused or otherwise contributed to Plaintiff’s

   alleged damages, if any, and that Plaintiff’s recovery should be reduced pro

   rata on the basis of its proportional fault.




                                        14
    Case 3:19-cv-01364-VLB Document 16 Filed 10/22/19 Page 15 of 22



                        NINTH AFFIRMATIVE DEFENSE

                            (Reserved Defenses)

9. As a ninth, separate, and affirmative defense to each and every cause of

   action alleged in the complaint, Defendants allege that they have

   insufficient knowledge or information upon which to form a belief as to

   whether that may have additional as yet unstated affirmative defenses.

   Defendants hereby reserve the right to assert these additional affirmative

   defenses in the event that discovery indicates such defenses would be

   appropriate.

                        TENTH AFFIRMATIVE DEFENSE

          (Lack of Damages Proximately Caused by Defendants)

10. As a tenth, separate, and affirmative defense to each and every cause of

   action alleged in the complaint, Defendants allege that Plaintiff’s damages,

   if any, are not the result of any actions or inactions on the part of

   Defendants.

                    ELEVENTH AFFIRMATIVE DEFENSE

                           (Plaintiff’s Own Actions)

11. As an eleventh, separate, and affirmative defense to each and every cause

   of action alleged in the complaint, Defendants allege that Plaintiff’s own

   actions or inactions caused its damages, if any, and therefore Plaintiff’s

   claims are barred.




                                      15
       Case 3:19-cv-01364-VLB Document 16 Filed 10/22/19 Page 16 of 22



WHEREFORE, Defendants pray for judgment as follows:

      1. That Plaintiff take nothing by reason of the complaint on file herein;

      2. That Defendants recover their costs for defending this suit brought by

Plaintiff, including reasonable attorneys’ fees; and

      3. Other and further relief as the Court may deem just and proper.




                                         16
      Case 3:19-cv-01364-VLB Document 16 Filed 10/22/19 Page 17 of 22



                                 CROSSCLAIM

  DEFENDANTS DIGSBY, TAYLOR & HOBBES, LLC AND RICHARD LEBOV AS
        MEMBER CROSSCLAIM AGAINST CHARLES A. CHESLOCK, SR.



     Pursuant to Rule 13(g) of the Federal Rules of Civil Procedure,

DEFENDANTS DIGSBY, TAYLOR & HOBBES, LLC and RICHARD LEBOV AS

MEMBER (collectively DTH) respectfully bring this CROSSCLAIM against

CHARLES A. CHESLOCK, SR. (Cheslock or Tenant).



  1. On September 5, 2018, DTH entered into a written lease agreement with

     Cheslock as tenant.

  2. The lease agreement provided that DTH would lease its land situated on

     property described as #500 Ella Grasso Boulevard (Premises) to Cheslock

     on Saturdays and Sundays of each week.

  3. The lease agreement provided that the premises would be used by

     Cheslock only for the operation of a flea market.

  4. In Section 6 – Covenants of TENANT, of the lease agreement, paragraph B.

     provides: “TENANT covenants to operate TENANT’S business in said

     leased premise and to use and maintain said premises in accordance with

     the laws of the United States, the State of Connecticut, and the by-laws,

     rules, regulations and ordinances of the City of New Haven . . .”




                                       17
    Case 3:19-cv-01364-VLB Document 16 Filed 10/22/19 Page 18 of 22



5. In Section 6 – Covenants of Tenant, of the lease agreement, paragraph C.

   provides: “TENANT agrees that he will not permit any vendor on the

   Premises to offer for sale any item in violation of any copyright or

   trademark rights or laws. Any such vendor shall by immediately removed

   from the Premises by TENANT . . .”

6. Section 7 – Remedies in Event of Default, of the lease agreement provides

   that the tenant agrees to hold DTH free and harmless from any and all

   breaches and violations of any of the terms of this agreement, including by

   way of illustration and not by way of limitation, all liability, damages, costs,

   and attorney’s fees incurred by DTH as a result of such breaches and

   violations.

7. Section 18 – Hold Harmless, of the lease agreement provides that tenant

   shall at tenant’s sole cost and expense hold DTH free and harmless from

   any and all claims and demands in connection with tenant’s use and

   maintenance of the subject property, including by way of illustration,

   actions of any persons upon the premises, including the costs and

   expenses in defending any claim made against DTH.

8. Section 22 – Retroactivity, of the lease agreement provides that, “The

   parties agree that the terms and provisions herein contained are those

   upon which the parties previously agreed. For such reason, the terms and

   provisions shall be deemed to apply retroactively.”




                                      18
   Case 3:19-cv-01364-VLB Document 16 Filed 10/22/19 Page 19 of 22



9. Cheslock signed the last page of lease agreement as “Tenant” on

   September 5, 2018.

10. Section 3 – Term of the lease agreement provides that, “TO HAVE AND TO

   HOLD the above premises for a period of two years . . .”

11. Pursuant to the duly executed lease agreement between DTH and

   Cheslock, Cheslock is solely responsible for any damages to PLAINTIFF

   MICHAEL KORS, LLC (Plaintiff) based on Plaintiff’s claims that its

   trademark was infringed by vendors at the flea market operated by

   Cheslock on Ella Grasso Boulevard in New Haven, Connecticut. .

12. Pursuant to the duly executed lease agreement between DTH and

   Cheslock, in the event that DTH is found liable for damages suffered by

   Plaintiff because of the actions of vendors at Cheslock’s flea market,

   Cheslock must hold DTH harmless from all liability, damages, costs, and

   attorney’s fees incurred by DTH.




                                      19
       Case 3:19-cv-01364-VLB Document 16 Filed 10/22/19 Page 20 of 22



      WHEREFORE, DEFENDANTS DIGSBY, TAYLOR & HOBBES, LLC and

RICHARD LEBOV AS MEMBER pray for judgment against CHARLES A.

CHESLOCK, SR. as follows:

      1. BY WAY OF INJUNCTIVE RELIEF, That the Court order CHARLES A.

CHESLOCK, SR. to hold harmless DEFENDANTS DIGSBY, TAYLOR & HOBBES,

LLC and RICHARD LEBOV AS MEMBER as to the claims and prayers for relief

made by PLAINTIFF MICHAEL KORS, LLC in its complaint filed in this matter.

      2. BY WAY OF DAMAGES, That the Court order CHARLES A. CHESLOCK,

SR. to compensate DEFENDANTS DIGSBY, TAYLOR & HOBBES, LLC and

RICHARD LEBOV AS MEMBER all their costs for defending this suit brought by

PLAINTIFF MICHAEL KORS, LLC, including any damages awarded and

reasonable attorneys’ fees incurred; and

      3. Other and further relief as the Court may deem just and proper.




                                       20
       Case 3:19-cv-01364-VLB Document 16 Filed 10/22/19 Page 21 of 22



                    DEFENDANTS’ DEMAND FOR JURY TRIAL

      Pursuant to the Federal Rules of Civil Procedure Rule 38(b), DEFENDANTS

DIGSBY, TAYLOR & HOBBES, LLC and RICHARD LEBOV, through their counsel

Michael S. Hillis, respectfully DEMAND a trial by jury in this matter on all issues

so triable.




                                       DEFENDANTS
                                       DIGSBY, TAYLOR & HOBBES, LLC and
                                       RICHARD LEBOV


                                               /s/ Michael S. Hillis
                                       BY: ___________________________
                                              MICHAEL S. HILLIS
                                              DOMBROSKI HILLIS, LLC
                                              129 Whitney Avenue
                                              New Haven, CT 06510
                                              mhillis@dkh-law.com
                                              203-624-9096
                                              Bar #: ct11867




                                         21
       Case 3:19-cv-01364-VLB Document 16 Filed 10/22/19 Page 22 of 22



                                   CERTIFICATION


      I hereby certify that on October 22, 2019 a copy of the foregoing was filed

electronically and served by mail on anyone unable to accept electronic filing.

Notice of this filing will be sent by e-mail to all parties by operation of the Court’s

electronic filing system or by mail to anyone unable to accept electronic filing as

indicated on the Notice of Electronic Filing. Parties may access this filing

through the Court’s CM/ECF System.




                                          /s/  Michael S. Hillis__ ___
                                        MICHAEL S. HILLIS




                                          22
